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                                                                                  Account Number: 587629056
                                                                                  Bill Period: Aug 18 - Sep 17, 2016




Call Details - (956) 793-9903 - Voice
On       At          To / From          Destination    Rate       Mins     Cost
Aug 19   03:06 pm    (956) 778-6644     HARLINGEN,TX   WC/AU       01:00      -
Aug 20   04:50 pm    (956) 778-6644     Incoming       NW/WC/AU    01:00      -
         05:11 pm    (956) 778-6119     Incoming       NW/WC/AU    02:00      -
         09:21 pm    (956) 778-6119     HARLINGEN,TX   NW/WC/AU    02:00      -
Aug 21   07:47 pm    (956) 536-0493     HARLINGEN,TX   NW/WC/AU    02:00      -
         07:49 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         07:50 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         07:50 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
Aug 23   03:50 pm    (956) 778-6644     HARLINGEN,TX   WC/AU       01:00      -
Aug 25   04:07 pm    (956) 730-0667     HARLINGEN,TX   WC/AU       01:00      -
Aug 28   08:11 pm    (956) 778-6119     HARLINGEN,TX   NW/WC/AU    01:00      -
Sep 01   06:52 am    (956) 536-3687     HARLINGEN,TX   NW/WC/AU    01:00      -
         05:13 pm    (956) 970-7966     HARLINGEN,TX   WC/AU       01:00      -
         05:14 pm    (956) 970-7966     HARLINGEN,TX   WC/AU       01:00      -
         05:15 pm    (956) 970-7966     HARLINGEN,TX   WC/AU       02:00      -
         05:19 pm    (956) 778-6119     Incoming       WC/AU       01:00      -
Sep 04   02:30 pm    (956) 536-3687     Incoming       NW/WC/AU    01:00      -
Sep 07   03:58 pm    (956) 730-0667     HARLINGEN,TX   WC/AU       02:00      -
         09:20 pm    (956) 536-3687     HARLINGEN,TX   NW/WC/AU    01:00      -
Sep 11   12:56 am    (956) 202-7165     HARLINGEN,TX   NW/WC/AU   112:00      -
         07:48 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         08:21 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
Sep 13   04:52 pm    (956) 778-6644     HARLINGEN,TX   WC/AU       01:00      -
Sep 17   12:20 pm    (956) 202-7165     Incoming       NW/WC/AU    79:00      -



Call Details -                        - Voice
On       At          To / From          Destination    Rate       Mins     Cost




                                                                                                     Rate Type
                                                                                                     AU Anytime/Plan Usage
                                                                                                     CW Call Waiting
                                                                                                     NW Night and Weekends

                                             MIRANDA - PL Bates No.000500
                                                                              -
                                                                                                     WC Any Mobile,Anytime
                                                                  -

Call Details - (             - Voice continues...
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                                                                           11 of 16
                                                                                    Account Number: 587629056
                                                                                    Bill Period: Sep 18 - Oct 17, 2016




Call Details - (              - Voice ...continued

On       At           To / From           Destination    Rate       Mins     Cost




Call Details - (956) 793-9903 - Voice
On       At           To / From           Destination    Rate       Mins     Cost
Sep 19   07:48 pm     (956) 778-6644      HARLINGEN,TX   NW/WC/AU    01:00      -
         08:15 pm     (956) 778-6644      HARLINGEN,TX   NW/WC/AU    01:00      -
Sep 23   03:59 pm     (956) 778-6644      Incoming       WC/AU       01:00      -
         07:17 pm     (956) 778-6644      HARLINGEN,TX   NW/WC/AU    01:00      -
         08:24 pm     (956) 778-6644      Incoming       NW/WC/AU    01:00      -
Sep 24   12:33 pm     (956) 778-6644      HARLINGEN,TX   NW/WC/AU    01:00      -
         05:36 pm     (956) 778-6644      HARLINGEN,TX   NW/WC/AU    01:00      -
Sep 26   04:26 pm     (956) 734-6806      HARLINGEN,TX   WC/AU       01:00      -
Sep 27   06:44 pm     (956) 778-6644      Incoming       WC/AU       01:00      -
Sep 28   04:45 pm     (956) 778-6644      Incoming       WC/AU       01:00      -
Sep 30   10:13 pm     (956) 202-7165      Incoming       NW/WC/AU   179:00      -
Oct 01   11:57 am     (956) 536-3687      Incoming       NW/WC/AU    02:00      -
         07:27 pm     (956) 536-3687      Incoming       NW/WC/AU    01:00      -
Oct 05   05:46 pm     (956) 536-3687      Incoming       WC/AU       01:00      -
Oct 06   06:26 am     (956) 345-2087      HARLINGEN,TX   NW/WC/AU    01:00      -
Oct 07   08:13 pm     (956) 778-6644      HARLINGEN,TX   NW/WC/AU    01:00      -
         08:42 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    01:00      -
         08:43 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    71:00      -
         09:54 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    06:00      -
         10:01 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU   183:00      -
Oct 08   09:15 am     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    24:00      -
         09:40 am     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    68:00      -
         11:21 am     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    22:00      -
         11:43 am     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    45:00      -
         02:39 pm     (956) 536-3687      HARLINGEN,TX   NW/WC/AU    01:00      -
         09:36 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    02:00      -
         09:38 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    02:00      -
                                                                                                        Rate Type
         09:41 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU   100:00      -
                                                                                                        AU Anytime/Plan Usage
Oct 09   11:25 am     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    04:00      -
         11:55 am     (956) 226-1691      Incoming       NW/WC/AU    37:00      -                       NW Night and Weekends

         12:33 pm     (956) 226-1691          MIRANDA - PL Bates No.000516
                                          HARLINGEN,TX   NW/WC/AU    18:00      -                       WC Any Mobile,Anytime
         12:56 pm     (956) 226-1691      HARLINGEN,TX   NW/WC/AU    01:00      -
Call Details - (956) 793-9903 - Voice continues...
                    Case 7:18-cv-00353 Document 33-3 Filed on 11/27/19 in TXSD Page 3 of 4
                                                                           12 of 16
                                                                                   Account Number: 587629056
                                                                                   Bill Period: Sep 18 - Oct 17, 2016




Call Details - (956) 793-9903 - Voice ...continued

On       At           To / From          Destination    Rate       Mins     Cost
         12:56 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    13:00      -
         01:27 pm     (956) 202-7165     Incoming       NW/WC/AU    17:00      -
         04:08 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU   195:00      -
         07:27 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    07:00      -
         07:40 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    02:00      -
         07:42 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    02:00      -
         07:45 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    02:00      -
         07:48 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    18:00      -
         08:05 pm     (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         08:06 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    07:00      -
         08:13 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    01:00      -
         08:13 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    80:00      -
Oct 10   04:57 pm     (956) 226-1691     Incoming       WC/AU       31:00      -
         05:32 pm     (956) 226-1691     Incoming       WC/AU       23:00      -
         07:14 pm     (956) 325-6447     Incoming       NW/WC/AU    01:00      -
Oct 11   05:08 pm     (956) 778-6119     HARLINGEN,TX   WC/AU       02:00      -
Oct 12   06:21 pm     (956) 226-1691     Incoming       WC/AU       39:00      -
         09:01 pm     (956) 202-7165     Incoming       NW/WC/AU    64:00      -
Oct 13   05:51 pm     (956) 778-6644     Incoming       WC/AU       01:00      -
         07:25 pm     (956) 226-1691     Incoming       NW/WC/AU    41:00      -
Oct 15   07:31 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU   241:00      -
         11:33 pm     (956) 226-1691     HARLINGEN,TX   NW/WC/AU    09:00      -
Oct 16   08:48 pm     (956) 202-7165     Incoming       NW/WC/AU    58:00      -
Oct 17   08:29 pm     (956) 202-7165     Incoming       NW/WC/AU    15:00      -



Call Details -                         - Voice
On       At           To / From          Destination    Rate       Mins     Cost




                                                                                                       Rate Type
                                                                                                       AU Anytime/Plan Usage
                                                                                                       NW Night and Weekends

                                              MIRANDA - PL Bates No.000517                             WC Any Mobile,Anytime
                                                                               -
Call Details - (              - Voice continues...
                    Case 7:18-cv-00353 Document 33-3 Filed on 11/27/19 in TXSD Page 4 of 4
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                                                                                  Account Number: 587629056
                                                                                  Bill Period: Oct 18 - Nov 17, 2016




Call Details - (956) 793-9903 - Voice
On       At          To / From          Destination    Rate       Mins     Cost
Oct 19   05:28 pm    (956) 778-6644     Incoming       WC/AU       01:00      -
Oct 20   07:06 pm    (956) 202-7165     Incoming       NW/WC/AU   130:00      -
Oct 21   10:05 pm    (956) 202-7165     Incoming       NW/WC/AU    63:00      -
Oct 22   01:32 am    (956) 226-1691     Incoming       NW/WC/AU    20:00      -
         01:52 am    (956) 226-1691     HARLINGEN,TX   NW/WC/AU    34:00      -
         05:26 pm    (956) 778-6644     Incoming       NW/WC/AU    01:00      -
         09:29 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         09:33 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         09:38 pm    (956) 778-6644     Incoming       NW/WC/AU    03:00      -
Oct 27   06:28 pm    (956) 226-1691     HARLINGEN,TX   WC/AU       49:00      -
Oct 28   01:04 pm    (956) 734-3884     HARLINGEN,TX   WC/AU       01:00      -
         07:58 pm    (956) 226-1691     HARLINGEN,TX   NW/WC/AU    65:00      -
         10:43 pm    (956) 226-1691     HARLINGEN,TX   NW/WC/AU    72:00      -
Oct 29   09:54 am    (956) 778-6644     Incoming       NW/WC/AU    01:00      -
Oct 30   02:44 pm    (956) 778-6644     HARLINGEN,TX   NW/WC/AU    01:00      -
         04:00 pm    (956) 778-6644     HARLINGEN,TX   NW/AM       01:00      -
         07:30 pm    (956) 778-6644     Incoming       NW/WC/AU    01:00      -
Nov 01   07:39 pm    (956) 778-6644     Incoming       NW/WC/AU    01:00      -
         07:48 pm    (956) 622-8091     Incoming       NW/WC/AU    01:00      -
         07:52 pm    (956) 778-6119     HARLINGEN,TX   NW/WC/AU    03:00      -
Nov 03   06:43 pm    (956) 878-8351     Incoming       WC/AU       01:00      -
Nov 04   05:49 pm    (956) 226-1691     HARLINGEN,TX   WC/AU      119:00      -
Nov 10   07:02 pm    (956) 536-3687     Incoming       NW/WC/AU    01:00      -
Nov 11   05:30 pm    (956) 778-6644     Incoming       WC/AU       01:00      -
         05:58 pm    (956) 778-6644     HARLINGEN,TX   WC/AU       01:00      -
Nov 12   11:56 am    (956) 202-7165     Incoming       NW/WC/AU    02:00      -
         11:58 am    (956) 202-7165     Incoming       NW/WC/AU    05:00      -
         06:37 pm    (956) 778-6644     Incoming       NW/WC/AU    01:00      -
         08:09 pm    (956) 202-7165     Incoming       NW/WC/AU   122:00      -
Nov 13   02:46 pm    (956) 536-3687     Incoming       NW/WC/AU    01:00      -
         08:22 pm    (956) 202-7165     Incoming       NW/WC/AU    15:00      -
         08:37 pm    (956) 202-7165     HARLINGEN,TX   NW/WC/AU    09:00      -



Call Details - (                      - Voice
On       At          To / From          Destination    Rate       Mins     Cost




                                                                                                      Rate Type
                                                                                                      AM Off Network - Included
                                                                                                         in America Plan
                                                                                                      AU Anytime/Plan Usage
                                                                                                      NW Night and Weekends

                                             MIRANDA - PL Bates No.000534
                                                                              -
                                                                                                      WC Any Mobile,Anytime
                                                                  -

Call Details -               - Voice continues...
                                                                                     Exhibit C
